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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

NEONODE SMARTPHONE LLC,                 §
                                        §
                Plaintiff,              §     Civil Action No. 6:20-cv-00505-ADA
                                        §
     v.                                 §        JURY TRIAL DEMANDED
                                        §
APPLE INC.,                             §
                                        §
                                                   REDACTED VERSION
               Defendant.               §



      APPLE INC. REPLY IN SUPPORT OF MOTION TO TRANSFER VENUE
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       Neonode’s opposition makes clear that there is no connection between this district and

the facts giving rise to this suit. Neonode does not (and cannot) allege any connection between

Apple’s design, engineering, marketing, or licensing of the accused features and this district,

because the relevant witnesses and sources of proof involved are overwhelmingly located in

NDCA. Nor is there any connection between Neonode and this district. Further, all relevant,

identified third-parties are located in California or abroad. Rather than attempting to show

WDTX is a convenient forum (as it cannot), Neonode relies on its co-pending case against

Samsung, an argument which runs contrary to this Court’s own precedence and ignores the

convenience of Apple and third-party witnesses and the location of sources of proof. See, e.g.,

Parus Holdings Inc. v. LG Elecs Inc. and LG Elecs. U.S.A. Inc., No. 6:19-cv-432-ADA, Dkt. 161

at 12-13 (W.D. Tex. Aug. 20, 2020) (transferring LG, despite co-pending cases involving the

same patents). Apple has more than met its burden to show that NDCA is a more convenient

venue, and respectfully submits that the Court should transfer this matter there.

I.     THE PRIVATE INTEREST FACTORS STRONGLY FAVOR TRANSFER

       A.      Apple’s Relevant Evidence and Witnesses Are Located in California

       Neonode suggests the location of Apple’s “documents and source code” is entitled to less

weight because they

             Resp. at 4. This argument has already been rejected by the Federal and Fifth

Circuits. In re Volkswagen II, 545 F.3d 304, 316 (5th Cir. 2008); see also Apple Inc., 979 F.3d at

1340. Further, Neonode fails to acknowledge that

                                                                                        Ex. A (M.

Rollins Dep. Tr.) at 91:4-93:6; Dkt. 27-3 at ¶ 7. If “access” means an employee can relocate in

order to provide documents, this factor would be rendered meaningless. As the

witnesses are in NDCA, this factor strongly weighs in favor of transfer.


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       Neonode also attempts to minimize the inconvenience to Apple’s witnesses and draw

speculation as to whether there are relevant Apple witnesses in WDTX. Apple identified

roughly two dozen engineers with knowledge relevant to this litigation, all of whom

work in NDCA. Neonode’s assertion that Apple “has not shown any ‘inconvenience’ or ‘cost’”

these witnesses would incur that is greater than any other business travel for Apple is inaccurate.

First, this assumes

Dkt. 27-3 at ¶¶ 7-17. Second, participating as a witness in a lawsuit is not a typical aspect of

employment at Apple. Taking time away from family and work activities to travel to and stay in

Texas is an inconvenience. Indeed, the Federal Circuit has twice recently recognized the

importance of employee witnesses residing in the transferee venue. In re TracFone Wireless,

Inc., Case No. 2021-136, Dkt. 11 at 5 (Fed. Cir. Apr. 20, 2021); Apple, 979 F.3d at 1341-42.

       Neonode also points to a handful of individuals who it speculates “may also be pertinent”

to the case. But none of the individuals listed in Neonode’s response have relevant knowledge

or are likely to be witnesses in this case. Ex. B (Rollins Decl. ¶¶ 4-9). The individuals are not

knowledgeable regarding the design or implementation of the accused features described in the

asserted patents, nor the type of information that would be necessary to calculate damages in a

patent case. Id.



                                                                                 Dkt. 52-2 at 20;

see generally Dkt. 1. This factor strongly weighs in favor of transfer. Apple, 979 F.3d at 1342.

       B.      Neonode Has No Connection to WDTX

       By Neonode’s own admission, it has no connection to this district. Neonode is not a

Texas entity, has no Texas employees or offices, and has not identified any Neonode potential

witnesses or sources of evidence located in Texas. Dkt. 27-4; Ex. C (J. Shain Dep. Tr.) at


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114:18-115:6. The named inventor of the asserted patents is located in Sweden. Dkt. 27-8.

Neonode states that the party and third-party witnesses whom Neonode currently expects to

testify in this matter are located in South Korea, Sweden, Israel, and Southern California, but are

“willing to travel to WDTX for the case,” (Resp. at 5, 10), but has not shown that these witnesses

would be unwilling to travel to NDCA for the case, nor that it would be a less convenient forum.1

Neonode’s witnesses’ willingness to travel to WDTX should be given no weight.

       C.      Relevant Third Parties Are Located in NDCA

       Neonode argues Apple has not shown the importance of the testimony of witnesses from

Google and Nuance. Not only is this inaccurate (see Dkt. 27 at 11), the importance is clear from

Neonode’s own pleadings. Dkt. 1 at ¶¶ 53, 33, 35, 80. Neonode alleges Apple indirectly

infringes the asserted patents by offering Google and Nuance’s swipe-typing apps, Gboard and

Swype. Id. In order to prove these apps meet the claims of the asserted patents, Neonode will be

required to subpoena Google and Nuance. As compulsory process over Google and Nuance is

available in NDCA, but not in WDTX, this factor strongly favors transfer. In re Hoffman-La

Roche, Inc., 587 F.3d 1333, 1337-38 (Fed. Cir. 2009).2

       D.      Judicial Economy Is Neutral

       Neonode overinflates the amount of judicial economy that would be preserved by

denying transfer and is therefore incorrect that it favors transfer. While the asserted patents are

the same, Neonode’s blanket statements that “the accused products and functionality are very



1
                                                                                Resp. at 5. And
Neonode’s witnesses have already traveled to NDCA for work. Ex. C at 51:20-52:7; 70:18-25.
2
  Neonode also argues Google and Nuance should be ignored because Apple has not identified
specific witnesses from these companies. Resp. at 6-7. This argument has, again, already been
rejected by the Federal Circuit. In re HP Inc., 826 Fed. App’x. 899, 903 (Fed. Cir. Sept. 15,
2020) (non-precedential) (holding there was “no basis to discount [the identified third parties]
just because individual employees were not identified.”).


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similar” and “[b]oth complaints allege that Apple and Samsung gained pre-suit knowledge of the

patents in suit” glosses over the complexities of the issues presented in this case. Apple and

Samsung will produce completely separate evidence regarding the accused products, how and

whether the accused features are marketed or licensed, financials, and evidence related to pre-

suit notice, or lack thereof. The Court will have to separately decide all issues and motions

relating to discovery, as well as conduct separate pre-trial and trial proceedings. In fact, the only

issue that can truly be jointly decided is claim construction. And as the case has been stayed

since its early stages (the parties have not yet served invalidity contentions), very little work, if

any, would have to be duplicated in NDCA. The judicial economy created by keeping this

matter in WDTX is minimal and this factor is neutral. See, e.g., Parus, No. 6:19-cv-432-ADA,

Dkt. 161 at 12-13 (transferring LG, despite co-pending cases involving the same patents).

       Further, Neonode suggests an unworkable standard. Namely, that all other factors should

be outweighed in view of judicial economy. Were this the case, any plaintiff could artificially

maintain a less convenient forum by filing suit against multiple defendants and ensuring that the

non-moving defendants would not or could not request a transfer. Such a result would allow a

party to manipulate case filings to avoid transfer and eviscerate defendants’ ability to effectively

utilize § 1404(a). Neonode’s co-pending case against Samsung does not justify ignoring the

convenience to Apple and third-party witnesses of litigating in NDCA.

II.    THE PUBLIC INTEREST FACTORS FAVOR TRANSFER

       Court congestion is, at worst, neutral. As Neonode notes, a particular court’s “general

ability to set a fast-paced schedule is not particularly relevant to this factor.” Apple, 979 F.3d at

1344. Rather, “[a]dministrative difficulties manifest when litigation accumulate in congested

centers instead of being handled at its origin.” Ikorongo Texas LLC v. Lyft, Inc., Civ. No. 6:20-

cv-00258-ADA, slip op. at 16 (W.D. Tex. Mar. 1, 2021) (citing Gulf Oil Corp. v. Gilbert, 330


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U.S. 501, 511 (1947)). This factor concerns whether there is an appreciable difference in docket

congestion between the two forums.” Id. (internal citations omitted).

        This District – and in particular, this Court – are significantly more congested than

NDCA. Currently there are only 236 patent cases pending in NDCA. Ex. D (NDCA Open

Cases). There are 706 patent cases pending in this Court alone – nearly three times the number

pending before all nine judges in NDCA. Ex. E (Judge Albright Open Cases). While this Court

has proceeded more quickly to trial for the cases that have thus far reached a jury, the Court’s

docket is substantial, with multiple patent trial settings every month. And while civil trials were

temporarily suspended in NDCA due to COVID-19, NDCA is resuming jury trials as early as six

weeks from yesterday. E.g., Finjan LLC v. Cisco Sys. Inc., Civ. No. 17-cv-72-BLF, Dkt. 738

(N.D.C.A. Dec. 16, 2020) (setting trial for June 3, 2021). Court congestion is, at worst, neutral.

        Local interest strongly favors transfer. Neonode asks this Court to err by finding this

factor is neutral because Apple has general contacts with WDTX that create a local interest.

Resp. at 13-15; Apple, 979 F.3d at 1345-46. Neonode points to the overall number of Apple

employees and the size of Apple’s non-retail facility in Austin, and the number of retail stores in

WDTX. Resp. at 14. These are similar facts to those the Federal Circuit previously found were

given too much weight by the district court, “improperly conflat[ing] the requirements for

establishing venue under 28 U.S.C. § 1400(b) and the requirements for establishing transfer

under § 1404(a).” Apple, 979 F.3d at 1345-46. It is clear that NDCA is the district with the

greatest local interest in this dispute because it is the situs of “the events that gave rise to [the]

suit.” Id. at 1345 (emphasis original). This factor strongly weighs in favor of transfer.3



3
 Neonode also argues three previous cases filed in EDTX by Apple fifteen years ago show
Texas may be a convenient forum for Apple. This argument has been soundly rejected by the
Federal Circuit as “clear error.” Genentech, 566 F.3d at 1346.


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Date: April 23, 2021                      Respectfully submitted,
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the above document was

served on April 23, 2021 via email to all counsel of record.

                                                 /s/   Betty H. Chen
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